Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 1 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 2 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 3 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 4 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 5 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 6 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 7 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 8 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 9 of 16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 10 of
                                      16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 11 of
                                      16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 12 of
                                      16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 13 of
                                      16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 14 of
                                      16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 15 of
                                      16
Case 1:11-cv-00978-WYD-KLM Document 54-5 Filed 08/19/11 USDC Colorado Page 16 of
                                      16
